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UN|TED STATES OF AMERlCA
Plaintiff,
VS. CR. NO. 04-20448-02-3

DAlVllEN PAYNE
Defendant.

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ORDER ON CHANGE OF PLEA
AND SETTING

 

This cause came on to be heard on June 21, 2005. the United States Attorney for
this district, Tony Arvin, appearing for the Government and the defendant, Damien Payne,
appearing in person and with counsel, Steflen Schreiner, who represented the defendant

With leave of the Court, the defendant withdrew the not guilty plea heretofore
entered and entered a plea of guilty to Count 1 of the lndictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENC|NG in this case is SET for WEDNESDAY, SEPTEMBER 21, 2005, at
9:00 A.M., before Judge J. Danie| Breen.

Defendant is remanded to the custody of the U. S. Nlarshal.

tY\
ENTERED this ihe?_-f__ day of June, 2005.

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Honorable J. Breen
US DISTRICT COURT

